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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      6/28/2023

In re:
                                                                        03-MD-01570 (GBD)(SN)
          TERRORIST ATTACKS ON
          SEPTEMBER 11, 2001                                                      ORDER


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SARAH NETBURN, United States Magistrate Judge:

          On April 27, 2023, the Court issued its bellwether Daubert order addressing expert

testimony proffered by the parties, including the Plaintiffs’ Executive Committees (“Plaintiffs”)

and Defendants World Assembly of Muslim Youth, World Assembly of Muslim Youth

International, International Islamic Relief Organization, Muslim World League, Abdullah Omar

Naseef, Abdullah bin Saleh al Obaid, Abdullah Mohsen al Turki, Adnan Basha, and Yassin Kadi

(together, the “Charity Defendants”). See ECF No. 9060. 1 The Order provided guidance relevant

to terrorism experts and was intended to reduce the number of expert challenges that need Court

intervention.

          Following that Order, the Plaintiffs and the Charity Defendants jointly proposed a

briefing schedule for challenging the remaining experts on both sides via 70-page motions, 70-

page oppositions, and 30-page replies. See ECF No. 9105. The Court scheduled a conference to

discuss the proposal and the parties’ efforts to heed the Court’s bellwether guidance. See ECF

No. 9127.

          During the conference, both sides assured the Court that future Daubert challenges will

reflect the principles in the Court’s bellwether Order. The Charity Defendants also emphasized


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    Unless otherwise noted, all ECF numbers refer to the main MDL docket, No. 03-md-01570.
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that resolving their Daubert motions would streamline summary judgment. Plaintiffs, on the

other hand, noted that their motions would have little impact on summary judgment and could be

deferred.

       In light of these representations, the Court directs the Charity Defendants to challenge the

three identified plaintiffs’ experts according to the following schedule:

            •    July 31, 2023: Charity Defendants’ Daubert motion(s) and brief(s)
                 of up to 70 pages total;

            •    September 15, 2023: Plaintiffs’ opposition brief of up to 70 pages;
                 and

            •    October 16, 2023: Charity Defendants’ reply brief(s) of up to 30
                 pages total.

       If the case proceeds to trial, Plaintiffs will be permitted to challenge additional defense

experts in pre-trial briefing. Plaintiffs’ agreement to defer briefing does not constitute a waiver of

any challenge.

SO ORDERED.



                                                      SARAH NETBURN
                                                      United States Magistrate Judge
DATED:           June 28, 2023
                 New York, New York




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